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AO 245B (CASDRev. 08/13) Judgment in a Criminal Case


                                            UNITED STATES DISTRICT COURT
                                               SOUTHERN DISTRICT OF CALIFORNIA!!I                      '     I ::',
                                                                                                             1J       h·,    l·:J 0
                                                                                                                            ( ' ....



                 UNITED STATES OF AMERICA                             JUDGMENT IN A CRIMRltL CArSE -:-.
                                       V.                             (For Offenses Committed Onot         llJt Novemb~~ 1~· 1987)
                     JUSTUS AARON HAYES (3)
                                                                         Case Number:         13CRl773-JLS                        ',("tn "

                                                                      CAROLYN L. OLIVER
                                                                      Defendant's Attorney
REGISTRATION NO.                       40360298
      -


IZI       pleaded guilty to count(s)         THREE OF THE INDICTMENT

    was found guilty on count(s)
    after a plea of not guilty.
Accordingly, the defendant is a4iudged guilty of such count(s), which involve the following offense(s):
                                                                                                                                  Count
Title & Section                         Nature of Offense                                                                        Number(s)
18 USC 1591(a) & (b) &                  CONSPIRACY TO VIOLATE SEX TRAFFICKING OF                                                    3
I 594(c)                                CHILDREN




    The defendant is sentenced as provided in pages 2 through                    5           ofthis judgment.
The sentence is imposed pursuant to the Sentencing Reform Act of 1984.
          The defendant has been found not guilty on count(s)

IZI       Count(s)    1 of the Indictment                       is          dismissed on the motion of the United States.

IZI       Assessment: $100.00 imposed



IZI No fine                        0 Forfeiture pursuant to order filed                                                 , included herein.
       IT IS ORDERED that the defendant shall notify the United States Attorney for this district within 30 days of any
change of name, residence, or mailing address until all fines, restitution, costs, and special assessments imposed by this
judgment are fully paid. If ordered to pay restitution, the defendant shall notify the court and United States Attorney of
any material change in the defendant's economic circumstances.

                                                                      August 29. 2014
                                                                        ate oflmposition of Sentence



                                                                        ON. JANIS- L. SAMMARTINO
                                                                      UNITED STATES DISTRICT JUDGE



                                                                                                                                  13CR1773-JLS
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                                                IMPRISONMENT
The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a term of:
SIXTY (60) MONTHS




D     Sentence imposed pursuant to Title 8 USC Section 1326(b).
      The court makes the following recommendations to the Bureau of Prisons:
k8J
          1. Residential Drug Abuse Program (RDAP)
          2. FCI Lompoc



D     The defendant is remanded to the custody of the United States Marshal.

D     The defendant shall surrender to the United States Marshal for this district:
      D    at                              A.M.              on
      D    as notified by the United States Marshal.

      The defendant shall surrender for service of sentence at the institution designated by the Bureau of
o     Prisons:
      D    on or before
      D    as notified by the United States Marshal.
      D    as notified by the Probation or Pretrial Services Office.

                                                      RETURN

I have executed this judgment as follows:

      Defendant delivered on   _ _ _ _ _ _ _ _ _ _ _ _ _ to _ _ _ _ _ _ _ _ _ _ _ _ _ __

at                               . . . . ~_, with a certified copy of this judgment.

                                         -------------------                                                   ...... -~--

                                               UNITED STATES MARSHAL



                                    By                     DEPUTY UNITED STATES MARSHAL


                                                                                                         13CR1773-JLS
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                                                             SUPERVISED RELEASE
Upon release from imprisonment, the defendant shall be on supervised release for a term of:

TEN (10) YEARS


     The defendant shall report to the probation office in the district to which the defendant is released within 72 hours of release from the
custody of the Bureau of Prisons unless removed from the United States.
The defendant shall not commit another federal, state or local crime.
For offenses committed on or after September 13. 1994:
The defendant shall not illegally possess a controlled substance. The defendant shall refrain from any unlawful use of a controlled
substance. The defendant shall submit to one drug test within 15 days of release from imprisonment and at least two periodic drug tests
thereafter as determined by the court. Testing requirements will not exceed submission of more than 4 drug tests per month during the
term of supervision, unless otherwise ordered by court.
            The above drug testing condition is suspended, based on the court's determination that the defendant poses a low risk of future
o           substance abuse. (Check. if applicable.)
181         The defendant shall not possess a firearm, ammunition, destructive device, or any other dangerous weapon.
            The defendant shall cooperate in the collection ofa DNA sample from the defendant, pursuant to section 3 of the DNA Analysis
181
            Backlog Elimination Act of2000, pursuant to 18 USC section 3583(a)(7) and 3583(d).
            The defendant shall comply with the requirements of the Sex Offender Registration and Notification Act (42 U.S.C. § 1690 I, et
o           seq.) as directed by the probation officer, the Bureau of Prisons, or any state sex offender registration agency in which he or she
            resides, works, is a student, or was convicted of a qualifying offense. (Check if applicable.)
o           The defendant shall participate in an approved program for domestic violence. (Check if applicable.)

            If this judgment imposes a fine or a restitution obligation, it shall be a condition of supervised release that the defendant pay any
       such fine or restitution that remains unpaid at the commencement of the term of supervised release in accordance with the Schedule
       of Payments set forth in this judgment.
           The defendant shall comply with the standard conditions that have been adopted by this court. The defendant shall also comply
       with any special conditions imposed.
                                             STANDARD CONDITIONS OF SUPERVISION
       I)     the defendant shall not leave the judicial district without the pennission of the court or probation officer;
       2)     the defendant shall report to the probation officer in a manner and frequency directed by the court or probation officer;
       3)     the defendant shall answer truthfully all inquiries by the probation officer and follow the instructions ofthe probation officer;
       4)     the defendant shall support his or her dependents and meet other family responsibilities;
       5)     the defendant shall work regularly at a lawful occupation, unless excused by the probation officer for schooling, training. or other acceptable
              reasons;
       6)     the defendant shall notifY the probation officer at least ten days prior to any change in residence or employment;
       7)     the defendant shall refrain from excessive use of alcohol and shall not purchase, possess, use, distribute, or administer any controlled substance or
              any paraphernalia related to any controlled substances, except as prescribed by a physician;
       8)     the defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered;
       9)     the defendant shall not associate with any persons engaged in criminal activity and shall not associate with any person convicted of a felony,
           unless granted permission to do so by the probation officer;
       10) the defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and shall permit confiscation of any contraband
           observed in plain view ofthe probation officer;
       II) the defendant shall notify the probation officer within seventy-two hours of being arrested or questioned by a law enforcement officer;
       12) the defendant shall not enter into any agreement to act as an informer or a special agent of a law enforcement agency without the permission of
           the court; and
       13) as directed by the probation officer, the defendant shall notifY third parties of risks that may be occasioned by the defendant's criminal record or
           personal history or characteristics and shall permit the probation officer to make such notifications and to confirm the defendant's compliance
              with such notification requirement.

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                               SPECIAL CONDITIONS OF SUPERVISION


   1. Submit your person, property, house, residence, vehicle, papers, computer, electronic communications
      or data storage devices or media, and effects to search at any time, with or without a warrant, by any law
      enforcement or probation officer with reasonable suspicion concerning a violation of a condition of
      probation/supervised release or unlawful conduct, and otherwise in the lawful discharge of the officer's
      duties. 18 U.S.C. §§3563(b)(23); 3583(d)(3).

   2. Consent to third party disclosure to any employer, potential employer, concerning any restrictions that
      are imposed by the court.


   3. Not use or possess devices which can communicate data via modem or dedicated connection and may
      not have access to the Internet without prior approval from the court or the probation officer. The
      offender shall consent to the installation of systems that will enable the probation officer to monitor
      computer use on any computer owned or controlled by the offender. The offender shall pay for the cost
      of installation of the computer software.


   4. Not associate with, or have any contact with any sex offenders unless in an approved treatment and/or
      counseling setting.


    5. Not have any contact, direct or indirect, either telephonically, visually, verbally, or through written
       material, or through any third-party communication, with the victim or victim's family, without prior
       approval of the probation officer.


    6. With exception to defendant's own children, not have unsupervised contact with any child under the age
       of 18, unless in the presence of a supervising adult (who is aware of the defendant's deviant sexual
       behavior and conviction), and with the prior approval ofthe probation officer.


    7. Not accept or commence employment or volunteer activity without prior approval of the probation
       officer, and employment should be subject to continuous review and assessment by the probation
        officer.


    8. Not loiter within 200 yards of a school, schoolyard, playground, park, amusement center/park, public
       swimming pool, arcade, daycare center, carnival, recreation venue, library and other places frequented
       by persons under the age of 18, without prior approval of the probation officer.

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   9. Complete a sex offender evaluation, which may include periodic psychological, physiological testing
      and completion ofthe ABEL assessment, at the discretion of the court or probation officer.


   10. Reside in a residence approved in advance by the probation officer, and any changes in residence shall
       be pre-approved by the probation officer.


   11. Participate in a program of drug or alcohol abuse treatment, including urinalysis or sweat patch testing
       and counseling, as directed by the probation officer. Allow for reciprocal release of infonnation
       between the probation officer and the treatment provider. May be required to contribute to the costs of
       services rendered in an amount to be detennined by the probation officer, based on ability to pay.

   12. Report all vehicles owned or operated, or in which you have an interest, to the probation officer.

   13. Not associate with known prostitutes or pimps and/or loiter in areas known to be frequented by those
       engaged in prostitution.

   14. Not associate with any known probationer, parolee or gang member including but not limited to East
       Side Piru member or affiliate, or anyone specially disapproved by the probation officer.

   15. As directed by the probation officer, the defendant shall not be present in any known gang gathering
       areas or any area known to be a location where gang members meet or assemble.

    16. Not possess, wear, use or display or have in his possession any item associated with gang dress, or nay
        item prohibited by the probation officer, including but not limited to any insignia, emblem, button, cap,
        hat, scarf, bandana or any other article of clothing, hand sign or paraphernalia associated with
        membership of, or affiliation to, any gang including but not limited to East Side Piru.




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